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9    UNITED STATES OF AMERICA

10
                              UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,                No. MJ 2:20-02585-DUTY
13
                 Plaintiff,                   GOVERNMENT’S MEMORANDUM IN SUPPORT
14                                            OF DETENTION FOR DEFENDANT XIN
                      v.                      WANG
15
     XIN WANG,                                Hearing Date: June 12, 2020
16                                            Hearing Time: 10:00 a.m.
                 Defendant.                   Location:     Courtroom of the
17                                                          Hon. Jacqueline
                                                            Chooljian
18

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20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorney George E. Pence,
23   //
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1    hereby files its memorandum in support of detention for defendant Xin

2    Wang (“WANG”).

3

4     Dated: June 11, 2020                Respectfully submitted,

5                                         NICOLA T. HANNA
                                          United States Attorney
6
                                          CHRISTOPHER D. GRIGG
7                                         Assistant United States Attorney
                                          Chief, National Security Division
8

9                                               /s/
                                          GEORGE E. PENCE
10                                        Assistant United States Attorney

11                                        Attorneys for Plaintiff
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1                       MEMORANDUM OF POINTS AND AUTHORITIES

2    I.    INTRODUCTION

3          No condition or combination of conditions will reasonably assure
4    both the safety of the community and the appearance of Defendant Xin
5    WANG (“Wang”) as required in the Northern District of California.              He
6    must be detained.
7          On June 7, 2020, WANG, along with his wife and child, sought to
8    fly from Los Angeles International Airport (“LAX”) to Tianjin, China.
9    During a Customs and Border Protection (“CBP”) interview, WANG
10   admitted that he was a scientific officer in the People’s Liberation
11   Army (“PLA”), the armed forces of the People’s Republic of China
12   (“PRC”).   WANG also admitted that he had intentionally failed to
13   disclose that information on his application for a visa to travel to
14   the United States to conduct toxicology research at the University of
15   California, San Francisco (“UCSF”), one of the nation’s premier
16   medical and biological research and teaching centers.
17         After his interview with CBP, WANG was charged in a criminal
18   complaint, filed in the Northern District of California, with visa
19   fraud, in violation of 18 U.S.C. § 1546(a).         On June 8, 2020, this
20   Court remanded WANG pending a continued detention hearing scheduled
21   for June 12, 2020.
22         In light of WANG’s substantial ties to the PRC and its
23   government, his lack of any ties to the United States, his
24   demonstrated disregard for the truth, and the nature of his offense
25   conduct, WANG should be detained pending trial.          The government
26   submits this brief and the accompanying declaration to supplement the
27   factual record set forth in the complaint and the pre-trial services
28   report.
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1    II.     FACTUAL BACKGROUND

2            WANG applied for and received two visas to travel to the United
3    States since 2016. (Wu Decl., ¶ 6.a.-6.d.) 1        First, in 2016, WANG

4    applied for and was issued a B1 business visa to enter the United

5    States, on a PRC official passport, to attend a pharmacology

6    conference in Houston.       (Wu Decl., ¶ 6.a.)    In his application, he

7    stated that he had served as a professor in the PLA and that his

8    service had ended on September 1, 2016.        (Id.)    Despite having been

9    granted that visa, WANG did not travel to the United States in 2016.

10   (Id.)

11           Second, on December 17, 2018, WANG was issued a multiple-entry

12   J1 non-immigrant visa to enter the United States. 2         (Wu Decl., ¶ 6.b–

13   6.d.)       In his visa application, which he certified under penalty of

14   perjury, WANG stated that he was employed by the Air Force Military

15   Medical Academy in Xi’an, China.       (Wu Decl., ¶ 6.b.)      He also stated

16   that the China Scholarship Council (“CSC”) was sponsoring his trip.

17   (Wu Decl., ¶ 6.c.)      He stated that the purpose of his visit was to

18   conduct research at USCF.       (Wu Decl., ¶ 6.b.)     In response to the

19   question on the visa application regarding military service, he

20   answered that he had served in the army in China as an “Associate

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            The Declaration of FBI Special Agent Letitia Wu (“Wu Decl.”)
     is attached hereto as Exhibit A.
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            The J1 visa program is for “exchange visitors” and “is
25   authorized for those who intend to participate in an approved program
     for the purpose of teaching, instructing or lecturing, studying,
26   observing, conducting research, consulting, demonstrating special
     skills, receiving training, or to receive graduate medical education
27   or training.” United States Citizenship and Immigration Services,
     “Exchange Visitors,” available at https://www.uscis.gov/working-
28   united-states/students-and-exchange-visitors/exchange-visitors (last
     accessed June 10, 2020).
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1    Professor” in Medicine, listing his dates of service from

2    September 1, 2002 until September 1, 2016.         (Id.)

3          On March 26, 2019, WANG entered the United States through San

4    Francisco International Airport.       (Wu Decl., ¶ 6.d.)      This was his

5    first time in the United States.       (Id.)

6          From approximately April 2019 through approximately March 2020,

7    WANG worked in a UCSF lab under the supervision of an associate

8    professor.      (Wu Decl., ¶ 7.a.)   He worked on projects funded, in

9    part, by grants from the United States Department of Health and Human

10   Services, National Institutes of Health (“NIH”).           (Id.)

11         In response to the COVID-19 pandemic and California’s shelter-

12   in-place order, the UCSF lab shut down.        (Wu Decl., ¶ 7.b.)      In or

13   around May 2020, WANG told his supervisor that he was being recalled

14   to China by his employer, the Fourth Military Medical University, and

15   that he would not return to work at the UCSF lab, thus cutting his

16   fellowship short by approximately one year.         (Wu Decl., ¶ 7.a.)     WANG

17   also said that he was interested in collaborating with his supervisor

18   remotely from China and that he (WANG) had already duplicated at his

19   lab in China some of the research conducted at the UCSF lab — a fact

20   that was previously unbeknownst to WANG’s supervisor.           (Wu Decl.,

21   ¶ 7.b.)

22         During WANG’s June 7, 2020, outbound interview by CBP at LAX,

23   WANG made the following statements, among others:

24             •   WANG is an active duty member of the PLA and held a “Level
25                 9” technician rank, which, according to WANG, corresponded

26                 roughly with the level of Major in the United States

27                 military; (Wu Decl., ¶ 8.b.i.)

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1            •   WANG intentionally made false statements on his J1 visa
2                application in order to increase the likelihood of
3                receiving a visa; (Wu Decl., ¶ 8.b.ii.)
4            •   WANG did not intend to return to the United States after
5                departing from LAX on June 7, 2020; (Wu Decl., ¶ 8.b.iii.)
6            •   WANG is employed, full-time at the Fourth Military Medical
7                University lab in China, which is subordinate to the Air
8                Force branch of the PLA; (Wu Decl., ¶ 8.b.iv.)
9            •   While in the United States, WANG received compensation from
10               the PLA, CSC, and UCSF; (Wu Decl., ¶ 8.b.v.)
11           •   WANG was instructed by his supervisor in China, the
12               director of the Fourth Military Medical University lab, to
13               observe and document the layout of the lab at UCSF in order
14               to replicate the lab when he returned to China; (Wu Decl.,
15               ¶ 8.b.vi.)
16           •   WANG intentionally deleted all WeChat messaging content
17               from his personal mobile phone before arriving at the
18               airport on June 7, 2020; (Wu Decl., ¶ 8.b.vii.) and
19           •   WANG had studies from UCSF on his laptop and external
20               digital storage devices that he planned to share with his
21               PLA colleagues, and WANG had emailed UCSF research to his
22               PRC laboratory.    (Wu Decl., ¶ 8.b.ix.)
23   III. ARGUMENT

24         Under 18 U.S.C. § 3142(e)(1), WANG presents an overwhelming risk
25   of flight and there are no conditions or combination of conditions
26   that can assure his appearance in this case in the Northern District
27   of California.    He therefore should be detained.
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1          WANG is a high-ranking member of the PRC military who gained

2    entry to the United States based on intentionally false statements

3    made under oath and penalty of perjury.        He did so pursuant to a

4    specific tasking from a supervisor at a PRC military university to

5    steal scientific research and information from an American university

6    — research that was supported in part by United States government

7    funds.    WANG followed those orders.

8          Moreover, as WANG admitted, WANG operated clandestinely in the

9    United States at the direction of the PRC for the last year.            A PRC

10   official acting with the support of his government has the resources

11   and ability to flee from the United States.         He has already

12   demonstrated operational sophistication by deleting chat messages

13   from his phone before going to the airport to fly home to China.

14         Thus, there is a high likelihood that WANG will successfully

15   flee the United States if released on bond and there are no

16   conditions of release that could possibly ensure his appearance in

17   the Northern District of California.        As WANG told CBP, WANG never

18   intended to return to the United States, and it is unlikely that a

19   pending criminal charge would cause him to change his mind.

20         Moreover, WANG has no ties to the community or reason to stay in

21   the United States.     WANG had never been to the United States before

22   this trip.    He owns no property and has no other assets in the United

23   States.    His immediate family are free to return to China as they

24   please, and already demonstrated their desire to do so.           His spouse

25   is an entirely inadequate surety, as she can even more easily depart

26   the United States than he can.       Any security he offers to post here —

27   and he has offered none to this point — will be insufficient, as the

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1    PRC government could easily fund such security on his behalf or

2    compensate him for any loss should he flee and return to China.

3          Notably, WANG is not the only PLA officer who has entered the

4    United States, funded by the CSC and on false pretenses, to collect

5    information from the United States for the PRC.          For example, on

6    January 28, 2020, a PLA Lieutenant, Yanqing Ye, was indicted in the

7    District of Massachusetts with, among other things, visa fraud and

8    acting as an illegal agent of a foreign government.          (Dkt. 1

9    (Indictment), CR 20-10021-PBS (D. Mass).)         As defendant here is

10   alleged to have done, Ye is alleged to have lied about her PLA status

11   on her visa application, and alleged to have conducted research on

12   the U.S. military for the PLA.       (Id.)

13         WANG’s conduct is consistent with the PRC’s overall program of

14   collecting U.S. technological and scientific information through both

15   espionage and individuals who use their professional positions to

16   gain access to such information.       Accordingly, the PRC has every

17   reason to assist WANG in fleeing the United States and has at its

18   disposal means such as active consular and intelligence services, the

19   ability to issue passports, and state-controlled air transport.            In

20   addition to an obvious interest in securing the return of a PLA

21   officer, WANG’S successful flight from the United States would

22   bolster the PRC’s information collection activities in the United

23   States, while undermining the ability of the American criminal

24   justice system to deter the illegal conduct of foreign governments in

25   the United States.

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1    IV.   CONCLUSION

2          For the foregoing reasons, the government respectfully requests
3    that this Court order defendant detained pending trial in the
4    Northern District of California.
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 1                                     DECLARATION      OF LETITIA    WU

 2            I, Letitia Wu, declare          as follows:

 3            1.       I am a Special      Agent    ("SA") with     the Federal      Bureau   of

 4    Investigation        ("FBI").      I have knowledge       of the facts set forth

 5    herein and could and would             testify    to those facts fully and

 6    truthfully        if called and sworn as a witness.

 7    I.      INTRODUCTION

 8            2.       Based on my interview         with an Associate       Professor     at the

 9    university        of California,      San Francisco      ("UCSF") and review         of WANG

10    Xin's    ("WANG") visa application,             I know that in 2018, WANG received

11    an invitation        to pursue    a post-doctoral        fellowship     at a UCSF lab to

12    research     the metabolic       function      of adipose     tissue for two years.

13            3.       From my review      of WANG's    2018 visa application,           I learned

14    that in or around November             2018 WANG applied        for a Jl       (Exchange

15    Visitor)     visa.     In his application,         which he submitted          under penalty

16    of perjury,        he stated    that his foreign military            service    ended on

17    September        I, 2016.

18            4.       From my review      of Customs    and Border    Protection        ("CBP")

19    reports of investigation,             I learned    that on June 7, 2020, during              an

20    interview with CBP at Los Angeles                International       Airport     ("LAX"), WANG

21    admitted     that he had intentionally            and falsely    stated under oath in

22    connection        with his November      2018 visa application          that his military

23    service had ended to increase                the likelihood    of receiving       his Jl

24   visa.

25            5.       The FBI arrested     WANG at LAX later that evening based on a

26    criminal     complaint      issued    in the Northern       District    of California

27   alleging      that WANG had committed            visa   fraud in violation        of 18 U.S.C.

28    §   1546 (a) .
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 1    II.   WANG'S VISA APPLICATIONS         AND STUDIES       AT UCSF

 2          6.      Based on my review      of the Department       of State's      Consular

 3    Consolidated       Database   and the Department     of Homeland       Security's          TECS

 4    database,     I know the following:

 5                 a.      In 2016, WANG applied       for and received       a B1 business

 6    visa to travel to the United          States on an official          People's    Republic

 7    of China     ("PRC") passport,      with the stated purpose          of attending          a

 8    pharmacology       conference    in Houston,    Texas.     In his application          for

 9    that visa, WANG stated          that he had served       as a professor    in the

10    People's Liberation       Army    ("PLA"), the armed       forces of the People's

11    Republic    of China    ("PRC"), and that his military             service had ended on

12    September    1, 2016.     WANG did not take that trip.

13                 b.      On or around November       10, 2018, WANG submitted             a J1

14    visa application       under penalty    of perjury       and certified    that all of

15    his answers       on the form were true and correct.           In his visa

16    application       he stated   that he was employed       by the Air Force Military

17    University    and the purpose       of his visit was to conduct          research          at

18    UCSF; that he had previously          served as an Associate         Professor        in

19   Medicine     in the PLA; and that his military             service   spanned     from

20    September    1, 2002 through      September     1, 2016.

21                 c.      WANG also indicated       in his visa application          that the

22    China Scholarship       Council    ("CSC") would    sponsor    and pay for his trip

23    to the United       States.

24                 d.      On or around   December     17, 2018, WANG received          a

25   multiple     entry J1 visa. According       to the Department         of Homeland

26    Security's    TECS database,      WANG traveled     to the United       States    for the

27    first time on March       26, 2019, arriving       at San Francisco       International

28   Airport.

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 1           7.        Based on my interview          of an Associate       Professor     at UCSF

 2    ("UCSF Associate           Professor"),       I know the following:

 3                     a.      From approximately       April    2019 through approximately

 4    March 2020, WANG worked              at a USCF lab under          the supervision     of the

 5    UCSF Associate           Professor.     That work was funded by a combination                 of

 6    u.s.   Department         of Health    and Human Services,          National     Institutes    of

 7    Health      ("NIHil)     grants,    biotechnology       company    funds, and the UCSF

 8    Associate        Professor's       personal    funds.

 9                     b.      In response    to the COVID-19       pandemic    and California's

10    shelter-in-place           order in March 2020, UCSF severely             restricted     access

11    to the lab and WANG stopped working.                     In or around May 2020, WANG

12    told the UCSF Associate              Professor    that he was being recalled           to China

13    by his employer,           the Fourth Military          Medical    University,     and that he

14    would not return           to work at the UCSF lab, thus cutting his fellowship

15    short by approximately              one year.     WANG also told the UCSF Associate

16    Professor        that he was interested          in collaborating       with the UCSF lab

17    remotely       from China and that he            (WANG) had already      duplicated     at his

18    lab in China some of the research                 conducted       at the UCSF lab - a fact

19    that was previously           unknown    to the UCSF Associate          Professor.

20                     c.     WANG told the UCSF Associate              Professor    that he had

21    obtained       tickets     to return    to the PRC through          LAX on June 7, 2020,

22    and requested           that the UCSF Associate          Professor    administratively        keep

23    WANG's   employment         at UCSF active until he sent confirmation                 that he

24    had returned           to the PRC to avoid any visa issues if his flight was

25    delayed.

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 1    III. CUSTOMS AND BORDER             PROTECTION       INTERVIEW    AND SUBSEQUENT     ARREST    AT
            LAX
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 3          8.     Based on my review          of CBP and FBI reports           of investigation,

 4    and my discussions        wi th other law enforcement              officers   and age'nts, I

 5    know the following:

 6                 a.     On June 7, 2020, WANG was ticketed                 and scheduled      to

 7    depart LAX for Tianjin          China onboard Air China              flight 988.

 8                 b.       CBP conducted       an outbound       interview     of WANG, who

 9    provided    the following       information:

10                        1.       WANG was an active          duty member    of the PLA and

11    held a "Level 9" technician             rank, which,       according     to WANG,

12    corresponded      roughly with        the level of Major          in the United     States

13    military;

14                        ii.      WANG had conducted          internet    research   about things

15    to be aware of when Chinese             military       personnel    applied   for U.S.

16    visas.     He provided       false information          regarding    his affiliation      with

17    the PLA in order to increase             the likelihood          of obtaining   his Jl visa.

18    No one assisted       WANG    in completing          his visa application;

19                        iii. WANG did not intend              to return    to the United

20    States after his intended            departure        from LAX on June 7, 2020;

21                        iv.      WANG    is employed,       full-time,    at the Fourth

22    Military    Medical     University      lab in China, which was subordinate               to

23    the Air Force branch          of the PLA;

24                       v.        While    in the United       States, WANG received

25    compensation      from the PLA, CSC, and UCSF;

26                       vi.       WANG was instructed          by his supervisor,        the

27    Director    in the Fourth Military          Medical       University    lab, to see the

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 1    layout of the lab in UCSF and bring back                     information     on how to

 2    replicate      it;

 3                           Vll.    WANG had wiped his personal             phone of all WeChat

 4    messaging      content       earlier    that morning;       and

 5                         viii.     WANG had a designated          point of contact        at the PRC

 6    Consulate      in San Francisco.

 7                           ix.     WANG had studies          from USCF on his laptop and

 8    external    digital      storage       devices,    which he was taking to China to

 9    share with his PLA colleagues.                WANG had already          sent UCSF research

10    to his PRC laboratory            via e-mail.

11                   c.      Following       the CBP outbound       interview,     WANG was

12    permitted      to leave rebooked          his flight to China at a later time that

13    day.    At approximately          11:20 p.m. on June 7, 2020, the FBI arrested

14    WANG based on a complaint               from the Northern         District   of California

15    alleging    that WANG had committed               visa    fraud in violation        of 18 U.S.C.

16    §   1546(a).        Upon his arrest,       WANG's wife       stated    that WANG could not

17    get arrested        because     they "did not know anyone here./I

18           I declare under penalty             of perjury       under the laws of the United

19    States of America            that the foregoing          is true and correct     and that

20    this declaration         is executed       at San Francisco,          California,     on

21    June 11, 2020.

22

23                                                           LETITIA WU
                                                             Special Agent,     Federal    Bureau   of
24                                                           Investigation

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